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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

 Compassion Church Florence, Inc.,                )   Civil Action No. 4:21-cv-02608-JD
                                                  )
                                     Plaintiff,   )
                                                  )
                vs.                               )       STIPULATION OF DISMISSAL
                                                  )            WITH PREJUDICE
 Brotherhood Mutual Insurance Company,            )
                                                  )
                                   Defendant.     )
                                                  )

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Compassion Church

Florence, Inc., by and through its undersigned counsel, hereby dismisses, with prejudice, all claims

and causes of action that were asserted against Defendant Brotherhood Mutual Insurance

Company, in the above-captioned action. As indicated by their signatures below, all parties consent

to the dismissal of this action. This Stipulation of Dismissal with Prejudice ends this action.




                           [SIGNATURES ON FOLLOWING PAGE]
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WE SO CONSENT:

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January 5, 2022




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